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 7
 8                             UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10
11 ALFONSO NAVARRO,                 )       Case No: 2:15-CV-3191
                                    )
12                                  )
                Plaintiff,          )       COMPLAINT FOR:
13                                  )
         vs.                        )       (1) VIOLATIONS OF THE FAIR
14                                  )       DEBT COLLECTION PRACTICES
                                    )       ACT
15   MOTION REPOSSESSORS, INC., and )
     DOES 1 through 10, inclusive,  )       (2) VIOLATIONS OF THE
16                                  )       ROSENTHAL FAIR DEBT
                                    )       COLLECTION PRACTICES ACT
17              Defendants.         )
                                    )       (3) CONVERSION
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                                                                COMPLAINT
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 1         Plaintiff Alfonso Navarro hereby complains against defendants Motion
 2   Repossessors, Inc., and Does 1-10, and alleges on information and belief as
 3   follows:
 4                                     OPERATIVE FACTS
 5         1.     Plaintiff purchased an automobile on credit, which was financed by
 6   Capital One Auto Finance. Capital One took a security interest in the vehicle,
 7   which was collateral for the loan. Capital One alleged that plaintiff was in default
 8   on his agreement, and hired defendant Motion Repossessors to repossess plaintiff’s
 9   vehicle.
10         2.     Defendants Motion Repossessors and the Doe defendants repossessed
11   plaintiff’s vehicle by entering plaintiff’s secured and locked underground garage,
12   without permission. Accordingly, defendants breached the peace in the
13   repossession of plaintiff’s vehicle, in violation of Commercial Code § 9609 and the
14   Collateral Recovery Act, Bus. & Prof. Code § 7508.2(d).
15         3.     Due to defendants illegal repossession, plaintiff had to pay Capital
16   One a repossession fee to reinstate his contract, and lost a day of work.
17         4.     Defendants also seized plaintiff’s personal possessions inside the
18   vehicle. Plaintiff went to Motion Repossessors to get his personal possessions and
19   the vehicle. Defendants refused to permit plaintiff to inspect his personal
20   possessions before being forced to acknowledge in writing that all such possessions
21   had been physically returned.
22         5.     Defendants also insisted that plaintiff sign several written waivers of
23   any existing and future legal claims he had against Motion Repossessors and the
24   lienholder, Capital One. Plaintiff signed the waivers under protest, but defendants
25   refused to accept this. Defendants forced plaintiff to sign the waivers without any
26   notation of his disagreement, in order to get back his personal property and vehicle.
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                                                                         COMPLAINT
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 1                                 JURISDICTION AND VENUE
 2          6.     The court has original jurisdiction over this matter pursuant to 15
 3   U.S.C. § 1692k(d). The court has supplemental jurisdiction over the state law
 4   claims pursuant to 28 U.S.C. § 1367.
 5          7.     Venue is proper in the Central District of California because a
 6   substantial part of the events or omissions giving rise to the claim occurred in this
 7   district, and defendants are subject to the court’s personal jurisdiction in this
 8   district.
 9                                          PARTIES
10          8.     Plaintiff is a natural person over the age of 18 years and is a resident of
11   the state of California.
12          9.     Defendant Motion Repossessors, Inc. is a California corporation.
13          10.    Defendants Does 1 through 10 are persons or entities whose true
14   names and capacities are presently unknown to plaintiff, and who therefore are sued
15   by such fictitious names. Plaintiff is informed and believes and thereon alleges
16   that each of the fictitiously named defendants perpetrated some or all of the
17   wrongful acts alleged herein, is responsible in some manner for the matters alleged
18   herein, and is jointly and severally liable to plaintiff. Plaintiff will seek leave of
19   court to amend this complaint to state the true names and capacities of such
20   fictitiously named defendants when ascertained.
21          11.    At all times mentioned herein, each defendant was the agent or
22   employee of each of the other defendants and was acting within the course and
23   scope of such agency or employment. The defendants are jointly and severally
24   liable to plaintiff.
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                                                                            COMPLAINT
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 1                          FIRST CAUSE OF ACTION
      (Against All Defendants for Violations of the Fair Debt Collection Practices
 2                          Act, 15 U.S.C. § 1692 et seq.).
 3         12.    Plaintiff realleges and incorporates herein by reference the allegations
 4   of all paragraphs above.
 5         13.    Plaintiff is a “consumer” who allegedly owed a “debt”, and defendants
 6   are “debt collectors”, as those terms are defined at 15 U.S.C. § 1692a. Defendants
 7   use instrumentalities of interstate commerce or the mails in a business the principal
 8   purpose of which is the enforcement of security interests.
 9         14.    Defendants violated 15 U.S.C. § 1692f(6) by taking nonjudicial action
10   to effect dispossession or disablement of property when (1) there was no present
11   right to possession of the property claimed as collateral through an enforceable
12   security interest; and/or (2) the property was exempt by law from such
13   dispossession or disablement.
14         15.    Defendants had no present right to repossess plaintiff’s vehicle from a
15   private building or secured area without permission, but did so in violation of
16   Commercial Code § 9609 and the Collateral Recovery Act, Bus. & Prof. Code §
17   7508.2(d).
18         16.    Plaintiff is entitled to any actual damages sustained by him as a result
19   of defendants’ conduct, in an amount according to proof, pursuant to 15 U.S.C. §
20   1692k.
21         17.    Plaintiff is entitled to statutory damages of $1,000 against each
22   defendant, pursuant to 15 U.S.C. § 1692k. Defendants have frequently and
23   persistently failed to comply with the FDCPA, and have violated the FDCPA
24   intentionally. The nature of defendants’ violations justifies the maximum statutory
25   damages award available.
26         18.    Plaintiff is entitled to the costs of the action, together with a reasonable
27   attorneys fee, pursuant to 15 U.S.C. § 1692k.
28         WHEREFORE, plaintiff prays for relief as set forth below.
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                                                                           COMPLAINT
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 1                          SECOND CAUSE OF ACTION
      (Against all Defendants for Violations of the Rosenthal Fair Debt Collection
 2                    Practices Act, Cal. Civil Code § 1788 et seq.)
 3         19.    Plaintiff realleges and incorporates herein by reference the allegations
 4   of all paragraphs above.
 5         20.    The California Legislature has found that “unfair or deceptive debt
 6   collection practices undermine the public confidence which is essential to the
 7   continued functioning of the banking and credit system and sound extensions of
 8   credit to consumers.” Cal. Civ. Code § 1788.1(a)(2). It thus enacted the Rosenthal
 9   Fair Debt Collection Practices Act, Cal. Civ. Code §§ 1788, et seq. (the “Rosenthal
10   Act”), to ensure the integrity of our banking and credit industry. Id. § 1788.1(b).
11         21.    Plaintiff is a “debtor” within the meaning of Civil Code § 1788.2(h) in
12   that he is a natural person from whom defendants sought to collect a “consumer
13   debt” alleged to be due and owing by reason of a consumer credit transaction.
14   “Debt” is defined under the Rosenthal Act to mean “money, property or their
15   equivalent which is due or owing or alleged to be due or owing from a natural
16   person to another person.” Civil Code § 1788.2(d).
17         22.    The defendants at all times relevant herein were “debt collectors”
18   within the meaning of Civil Code § 1788.2(c), in that they regularly and in the
19   ordinary course of business, on behalf of themselves or others, engage in acts and
20   practices in connection with the collection of money or property which is due or
21   alleged be due or owing by reason of a consumer credit transaction.
22         23.    Defendants violated Civil Code § 1788.10(a) by using criminal means
23   to cause harm to the property of plaintiff. Defendants violated Bus. & Prof. Code §
24   7502.1(a) and committed a misdemeanor by violating Bus. & Prof. Code §
25   7508.2(d). As a result, plaintiff lost money and use of his vehicle.
26         24.    Defendants violated Civil Code § 1788.33 by forcing plaintiff to sign a
27   waiver of his rights under the Rosenthal Act.
28         25.    Defendants violated Civil Code § 1788.17, incorporating by reference
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                                                                            COMPLAINT
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 1   15 U.S.C. § 1692d, by engaging in conduct the natural consequence of which was
 2   to harass, oppress, or abuse plaintiff in connection with the collection of an alleged
 3   debt.
 4           26.   Defendants violated Civil Code § 1788.17, incorporating by reference
 5   15 U.S.C. § 1692f, by using unfair or unconscionable means to collect or attempt to
 6   collect an alleged debt.
 7           27.   As a proximate result of defendants’ violations of the Rosenthal Act,
 8   plaintiff has been damaged in amounts which are subject to proof. Plaintiff is
 9   entitled to recover his actual damages pursuant to Civil Code § 1788.17,
10   incorporating by reference 15 U.S.C. § 1692k(a)(1), or in the alternative, Civil
11   Code § 1788.30(a).
12           28.   Defendants’ violations of the Rosenthal Act were willful and knowing.
13   Plaintiff is entitled to recover statutory damages of $1,000 per defendant pursuant
14   to Civil Code § 1788.17, incorporating by reference 15 U.S.C. § 1692k(a)(2)(A),
15   and Civil Code § 1788.30(b).
16           29.   Plaintiff is entitled to recover his attorneys fees and costs pursuant to
17   Civil Code § 1788.17, incorporating by reference 15 U.S.C. § 1692k(a)(3), or in the
18   alternative, Civil Code § 1788.30(c).
19           WHEREFORE, plaintiff prays for relief as set forth below
20                             THIRD CAUSE OF ACTION
                          (Against All Defendants For Conversion)
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             30.   Plaintiff realleges and incorporates herein by reference the allegations

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     of all paragraphs above.

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             31.   Plaintiff was entitled to immediate possession of his vehicle when it

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     was repossessed by defendants. Defendants were not entitled to breach of the peace

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     in order to repossess the vehicle.

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             32.   Defendants wrongfully deprived plaintiff of possession of his vehicle

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     by repossessing it without any present right to do so, in breach of the peace.

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 1         33.    Plaintiff has suffered and is entitled to recover damages for
 2   defendants’ conversion.
 3         34.    Defendants acted with malice, oppression, and/or fraud towards
 4   plaintiff within the meaning of Civil Code § 3294, thereby entitling him to an
 5   award of punitive damages. Defendants’ corporate officers, directors, or managing
 6   agents are personally guilty of oppression, fraud or malice, had advance knowledge
 7   of the unfitness of the employees who acted towards plaintiff with malice,
 8   oppression, or fraud, employed such employees with conscious disregard for the
 9   rights or safety of others, and/or themselves authorized or ratified the wrongful
10   conduct or knowingly accepted and retained the benefits of the wrongdoing.
11         WHEREFORE, plaintiff prays for relief as set forth below.
12                                 PRAYER FOR RELIEF
13         WHEREFORE, plaintiff prays for the following relief:
14         1. For actual damages;
15         2. For statutory damages;
16         3. For punitive damages;
17         4. For pre-judgment interest to the extent permitted by law;
18         5. For an award of attorneys’ fees, costs and expenses incurred in the
19   investigation, filing and prosecution of this action; and
20         6. For such other and further relief as the Court may deem just and proper.
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                                                                          COMPLAINT
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 1                               DEMAND FOR JURY TRIAL
 2         Plaintiff hereby demands a trial by jury under the United States and
 3   California constitutions.
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     Dated: April 29, 2015                    Respectfully Submitted,
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                                              TRUEBLOOD LAW FIRM
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 8
 9                                            By:   ________/s/____________________
                                                    Alexander B. Trueblood
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                                              Attorneys for Plaintiff
11                                            ALFONSO NAVARRO
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